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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,                                       Case No.          2:19-CR-0049-RMP


                                    Plaintiff,                  CRIMINAL MINUTES
       -vs-
                                                                DATE:             OCTOBER 1, 2019
JAYDIN LEDFORD,
aka Jaydin Harvey Wesley Ledford,                               LOCATION: SPOKANE
                                    Defendant.
                                                                PRETRIAL CONFERENCE

                                    HON. ROSANNA MALOUF-
                                          PETERSON
        Linda Hansen                                   02                               Ronelle Corbey
     Courtroom Deputy                              Law Clerk                            Court Reporter

                Patrick J Cashman                                           Andrea K George

              Government Counsel                                            Defense Counsel

United States Probation Officer:

      [ X ] Open Court                     [     ] Chambers                        [   ] Telecon
Defendant present with counsel and not in custody.
Andrea George made an oral motion to continue the trial date.
Patrick Cashman addressed the Court regarding the status of discovery.
Ms. George addressed the Court in response.
The defendant executed a waiver of speedy trial.
The Court GRANTED the defendant’s motion for continuance, making ends of justice findings.
     The Trial of 10/15/2019 is STRICKEN and RESET to 3/2/2020.
     A Pretrial Conference will be set for 2/13/2020 at 10:00 a.m.
Defendant shall remain on the previously imposed conditions of release.




[X ] ORDER FORTHCOMING

CONVENED: 10:31 A.M.        ADJOURNED:           10:43 A.M.    TIME: 12    MINS        CALENDARED        [   ]
